Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   HAYES et al.,                                        CASE NO.: 21-22863-CIV-MOORE

           Plaintiffs,
   v.

   GOVERNOR RONALD DION DESANTIS,
   et al.,

         Defendants.
   _____________________________________/

        DEFENDANT, SCHOOL BOARD OF PALM BEACH COUNTY’S REPLY TO
               PLAINTIFF’S RESPONSE TO MOTION TO DISMISS

         COMES NOW, Defendant, SCHOOL BOARD OF PALM BEACH COUNTY, FLORIDA

  (Palm Beach), by and through undersigned counsel, and files this Reply to Plaintiff’s Response to

  Motion to Dismiss and states as follows:

         Each of the Plaintiffs who live in Palm Beach County have claims that clearly fall within

  the Individuals with Disabilities Education Act (IDEA). Plaintiffs correctly point out on page 6

  of their Response that exhaustion is not required, “when an action does not involve educational

  methods, and instead involves other types of discrimination, such as physical access or integration

  or transportation.” Fry. V. Napoleon Cmty.Sch., 137 S. Ct. 743, 753-54, 197 L. Ed 2d 46 (2017).

  However, for the reasons set forth below, that is not the case here, so exhaustion is still required.

         While they have individual circumstances, each of the Plaintiffs seek free appropriate

  public education (FAPE) in the least restrictive environment - relief that would only be available

  from a school district. To claim that the same allegations could be made against a public theater

  or library is disingenuous and fails to acknowledge that only a school district is obligated to

  provide the very relief sought: FAPE in the least restrictive environment.

                                                    1
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 2 of 7




         In their misapplication of Fry, Plaintiffs overlook the fact that their complaint expressly

  alleges the denial of a FAPE as required in the Fry test.

      One clue to whether the gravamen of a complaint against a school concerns the denial of
      FAPE, or instead addresses disability-based discrimination, can come from asking a pair
      of hypothetical questions. First, could the plaintiff have brought essentially the same
      claim if the alleged conduct had occurred at a public facility that was not a school – say,
      a public theater or library? And second, could an adult at the school—say, an employee
      or visitor—have pressed essentially the same grievance? When the answer to those
      question is yes, a complaint that does not expressly alleged the denial of a FAPE is also
      unlikely to be truly about that subject … for the FAPE requirement is all that explains
      why only a child in the school setting (not an adult in that setting or a child in some
      other) has a viable claim.

  Fry, 137 S. Ct. at 756 (emphasis supplied)

         The bottom line is not whether the public theater or library could be challenged for not

  mandating their patrons and/or employees wear masks. Rather, the question is whether the

  plaintiffs could have brought “essentially the same claim” against another entity. Since the

  gravamen of Plaintiff’s claims is a denial of FAPE, Plaintiffs are required to exhaust administrative

  remedies. To claim that the same allegations could be made against a public theater or library is

  disingenuous.

         Plaintiff Amanda Banek and her children’s doctor have determined that it is too dangerous

  for them to attend in person school and have unilaterally concluded that virtual school is not an

  option as it does not have the supports, services and accommodations of their IEP’s. They also

  claim that virtual school would not allow the children to be educated with their peers.       These

  arguments fall squarely into a claim for denial of FAPE in the least restrictive environment.

  Accordingly, Ms. Banek and her children must exhaust administrative remedies.

         Plaintiff Alisha (aka Alicia) Todd and her son J.T. claim J.T. is unable to work on social

  skills and peer interaction if he is attending school virtually or in a hospital-homebound setting.

                                                   2
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 3 of 7




  J.T.’s mother is concerned that if he leaves the school system he would lose his rights to an IEP or

  the supports and therapies he can receive in the schools. Again, these arguments fall squarely into

  a claim for denial of FAPE in the least restrictive environment. Accordingly, Ms. Todd and her

  child must exhaust administrative remedies.

         Plaintiff Tom Collins is worried about his son Q.C. having the ability to continue attending

  school and if and when his school does not follow CDC guidelines. He chooses to pick his son up

  during lunch time to avoid being around children who he believes may not be wearing masks or

  are not social distancing during that time. Plaintiffs allege that Q.C. has asthma and anxiety and

  that he “needs supports and services” through a 504 plan. To the extent that Q.C.’s parents believe

  he needs services including a “full panoply of services,” such a claim falls squarely under the

  IDEA’s child find and FAPE provisions. Accordingly, Mr. Collins and his child must exhaust

  administrative remedies.

         Plaintiffs claim that they are not required to exhaust administrative remedies because doing

  so would be futile. However, the Division of Administrative Hearings (DOAH) has jurisdiction

  over claims relating to identification, eligibility, evaluation, placement and provision of free

  appropriate public education. DOAH judges regularly hear and decide similar claims relating to

  services, IEP implementation, implementation of accommodations and placement.

          Respectfully submitted, this 10th day of September 2021.

                                                The School Board of Palm Beach County, Florida
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                                                   3
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 4 of 7




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                                             4
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 5 of 7




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                                               5
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 6 of 7




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                                                 6
Case 1:21-cv-22863-KMM Document 95 Entered on FLSD Docket 09/13/2021 Page 7 of 7




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